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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

__________________________________________
                                          :
NOAH A. MESSING                           :
                                          :                 CIVIL ACTION NO.
                                          :                 3:19-CV-1442-AWT
                                          :
V.                                        :
                                          :
                                          :
TOWN OF HAMDEN                            :                 FEBRUARY 7, 2020
__________________________________________:

               RULE 26(f) REPORT OF PARTIES’ PLANNING MEETING


Date Complaint Filed:

       September 13, 2019

Date Complaint Served:

       September 16, 2019

Date of Defendants’ Appearance:

       September 26, 2019

Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a conference was held
on October 28, 2019 to present. The participants were:

       Noah A. Messing, for the plaintiff, pro se

       James G. Williams, Esq. and Scott R. Ouellette, Esq. for the defendant


I.     CERTIFICATION:

       Undersigned counsel/Plaintiff certify that, after consultation between counsel and

       Defendant, they have discussed the nature and basis of the parties’ claims and defenses

       and any possibilities for achieving a prompt settlement or other resolution of the case




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        and, in consultation with the parties, have developed the following proposed case

        management plan, most of which the parties agree on. Counsel for Defendant further

        certifies that they have forwarded a copy of this report to their client.

II.     JURISDICTION:

        A.      Subject Matter Jurisdiction

        Jurisdiction of the plaintiff’s claim is proper pursuant to 28 U.S.C. § 1331, 1343(3) and

        1367(a) of Title 28 and Sections 1983 and 1988 of Title 42 of the United States Code.


        B.      Personal Jurisdiction

                Personal jurisdiction is not contested.

III.    BRIEF DESCRIPTION OF CASE:

        A.      Claims of Plaintiff:

        Defendant repaved a road in Hamden, CT in a manner that caused serious flooding at

Plaintiff’s property during moderate and heavy rains. Plaintiff has alleged three claims but

consents to dismissing one of them. The first rests on the Takings Clause—for a taking of

property caused by the flooding of his property, which stemmed directly from Defendant’s

actions. Plaintiff seeks damages under this claim. The second claim—which Plaintiff consents to

dismissing without prejudice after reviewing Defendant’s motion to dismiss—arises under 28

U.S.C. § 1983 and alleges that failing to pay compensation after flooding a homeowner’s

property is a violation of Plaintiff’s rights and arises as part of a pattern and practice of cost-

cutting that results in water-runoff problems. The third claim arises under state law, C.G.S. 12-

119, which prohibits taxing a property at a “manifestly excessive” rate; the Complaint alleges

that, largely or wholly because of Defendant’s actions, the home in question has plummeted in




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value—as confirmed by sales data—making the current tax rate manifestly excessive. For this

claim, Plaintiff seeks equitable relief.

         B.      Defenses:

         The defendant denies plaintiff’s allegations as alleged. The defendant has not had a full

opportunity to properly investigate this matter and therefore reserves their right amend its

responses. Based upon their knowledge to date, the defendant denies that any of its actions were

unconstitutional, discriminatory, illegal, inappropriate or otherwise in violation of any law. The

defendant further asserts the following defenses: (a) qualified governmental immunity; (b)

qualified immunity in that their conduct did not violate clearly established statutory or

constitutional rights that a reasonable person would have known of; and (c) failure to state a

claim.

IV.      STATEMENT OF UNDISPUTED FACTS:

         Counsel certifies that they have made a good faith attempt to determine whether there are

         any material facts that are not in dispute. The parties state that the following material

         facts are undisputed:

         1. Plaintiff, Noah Messing, resides at 34 Deepwood Drive in Hamden, CT.

         2. Plaintiff owns the home in question in the litigation, which is located at 10 Deepwood

              Drive in Hamden, CT.

         3. Defendant is the Town of Hamden, located in New Haven County, within the State of

              Connecticut. For purpose of this litigation the Defendant is located at 2750 Dixwell

              Avenue, Hamden, CT 06518.

V.       CASE MANAGEMENT PLAN:

A.       Standing Order on Scheduling in Civil Cases




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        The parties request the following modifications to the Standing Order on Scheduling in

Civil Cases as follows: The parties request longer periods for discovery.

        1.         Scheduling Conference with the Court

                   The parties request a pretrial conference with the Court before entry of a

                   scheduling order pursuant to Fed. Rule Civil Procedure 16(b).

        2.         Early Settlement Conference

            The parties certify that they have considered the desirability of attempting to settle the

case before undertaking significant discovery or motion practice. The Defendant does not

request an early settlement conference. Plaintiff requests an early settlement conference. At an

appropriate time, Defendant prefers a settlement conference with a United States Magistrate

Judge. Plaintiff defers to the preference of the Court. Defendant does not request a referral for

alternative dispute resolution pursuant to D. Conn. L. Civ. R. 16. Plaintiff requests such a

referral.

        3.         Joinder of Parties and Amendment of Pleadings

               a. The plaintiff does not seek additional time to file motions to join additional

                   parties.

               b. The defendant does not seek additional time to file motions to join additional

                   parties; new parties may be joined or pleadings amended only by leave of the

                   court for good cause.

               c. The defendant should also be allowed thirty (30) days from the date of the service

                   of any amended pleading to file a responsive pleading to any amended complaint

                   or other pleading that is served by plaintiffs.

        4.         Discovery




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 a. The parties anticipate that discovery will be needed on the following subjects:

            The nature and substance of the plaintiff’s claims;

            The nature and substance of the plaintiff’s alleged damages; and

            The nature and substance of the defendants’ defenses.

 b. Fact discovery is ongoing and will end on: Plaintiff proposes August 15, 2020;

     Defendant proposes January 15, 2021.

 c. The parties’ Rule 26(a)(1)(A) disclosures shall be made by June 15, 2020.

 d. Discovery will not be conducted in phases.

 e. All Discovery will be completed by: Plaintiff proposes August 15, 2020;

     Defendant proposes January 15, 2021

 f. Early discovery is not requested.

 g. The parties anticipate that the plaintiff will require five (5) depositions of fact

     witnesses and the defendants will require three (3) depositions of fact witnesses

     (excluding expert depositions). The depositions of fact witnesses will commence

     upon the Court’s resolution of defendant’s pending motion to dismiss and be

     completed by: Plaintiff proposes August 15, 2020; Defendant proposes December

     20, 2020

 h. The parties do not request permission to serve more than twenty-five

     interrogatories at this time. However, the parties reserve the right to file a motion

     requesting permission to serve additional interrogatories.

 i. Plaintiff intends to call one expert witness at trial. Plaintiff will designate all trial

     experts and provide opposing counsel with reports from retained experts pursuant

     to Fed. R. Civ. P. 26(a) by: Plaintiff proposes May 30, 2020, Defendant proposes




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    July 30, 2020. Depositions of any such experts will be completed by: Plaintiff

    proposes May 30, 2020, Defendant Proposes September 30, 2020.

 j. Defendants intend to call expert witnesses at trial. Defendants will designate all

    trial experts and provide opposing counsel with reports from retained experts

    pursuant to Fed. R. Civ. P. 26(a)(2) by no later than: Plaintiff proposes June 30,

    2020; Defendant proposes October 30, 2020. Depositions of such experts will be

    completed by no later than: Plaintiff proposes July 30, 2020; Defendant proposes

    December 30, 2020.

 k. A damages analysis will be provided by any party who has a claim or

    counterclaim for damages by July 31, 2020.

 l. Undersigned Counsel and Plaintiff have discussed the disclosure and preservation

    of electronically stored information, including, but not limited to, the form in

    which such data shall be produced, search terms to be applied in connection with

    the retrieval and production of such information, the location and format of

    electronically stored information, and the allocation of costs of assembling and

    producing such information. The parties agree to preserve electronically stored

    records (as they may exist) retroactive to the date of the first event alleged in the

    Complaint, in so far as said. The parties will reach further agreement on exactly

    what form the disclosure of the electronic information will take. Both sides agree

    to instruct the parties to preserve these records. As more information becomes

    available, the parties will reach an agreement on costs of the electronic discovery.

 m. Undersigned counsel and Plaintiff have discussed discovery procedures that

    minimize the risk of waiver of privilege or work-product protection, including




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               procedures for asserting privilege claims after production. The parties agree that if

               any information that is privileged or subject to work-product protection is

               inadvertently disclosed, the disclosing party will have fifteen (15) days from the

               disclosure to assert the privilege or work-product protection and seek the return of

               the information. The party to whom the information is disclosed agrees not to

               review the information after the assertion of privilege or work-product and further

               to not duplicate that information or further disclose it to others.

           n. Dispositive Motions, if any, will be filed on or before: Plaintiff proposes

               September 15, 2020; Defendant proposes February 15, 2021.

           o. The Joint Trial Memorandum required by the Standing Order on Trial

               Memoranda in Civil Cases will be filed ninety (90) days after the close of expert

               discovery, in the event that no dispositive motion is filed. In the event a

               dispositive motion or motions are filed, the joint trial memorandum shall be filed

               no later than forty-five (45) days after entry of a ruling on the dispositive motion

               or motions.

           p. Trial Ready Date-This case will be ready for trial on February 15, 2021, or sixty

               (60) days after the Court’s ruling on any dispositive motion, whichever is later.

       As officers of the Court, undersigned counsel agree to cooperate with each other and the

court to promote the just, speedy and inexpensive determination of this action.


                                                      THE PLAINTIFF [Pro se]
                                                      NOAH A. MESSING

                                                      /s/ Noah A. Messing
                                                      127 Wall Street
                                                      New Haven, CT 06510
                                                      noah.messing@yale.edu



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                                    THE DEFENDANT,
                                    TOWN OF HAMDEN

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                                CERTIFICATION OF SERVICE


I hereby certify that a copy of the foregoing was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic filing. Parties may access this filing
through the Court’s CM/ECF System.


                                                      /s/ James G. Williams
                                                      James G. Williams




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